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             IN THE DISTRICT COURT OF THE UNITED STATES
                 FOR THE MIDDLE DISTRICT OF ALABAMA
                          NORTHERN DIVISION

ALICIA OWENS WALKER,                         )
                                             )
      Plaintiff,                             )
                                             )
      v.                                     )    CASE NO. 2:20-CV-978-WKW
                                             )               [WO]
THE MONTGOMERY COUNTY                        )
BOARD OF EDUCATION, et al.,                  )
                                             )
      Defendants.                            )

                                     ORDER

      On April 22, 2021, the Magistrate Judge filed a Recommendation to which no

timely objections have been filed. (Doc. # 11.) Upon an independent review of the

record and upon consideration of the Recommendation, it is ORDERED as follows:

      (1) The Recommendation (Doc. # 11) is ADOPTED.

      (2) Plaintiff’s Motion for Preliminary Injunction (Doc. # 1) is DENIED.

      (3) This case is referred back to the Magistrate Judge for further proceedings.

      DONE this 25th day of May, 2021.

                                /s/ W. Keith Watkins
                                United States District Judge
